                    EXHIBIT A

                   Proposed Order




NAI-1505590395v4
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                        :
In re:                                                  :       Chapter 11
                                                        :
M & G USA CORPORATION, et al.,1                         :       Case No. 17-12307 (BLS)
                                                        :
                   Debtors.                                     (Jointly Administered)
                                                        :
                                                        :

                 FIRST OMNIBUS ORDER AUTHORIZING THE ASSUMPTION
              OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          This Court has considered the Debtors' First Omnibus Motion for Entry of an Order

Authorizing Them to Assume Certain Executory Contracts and Unexpired Leases

(the "Motion")2 and the statements of counsel and the evidence adduced with respect to the

Motion at any hearing before this Court (the "Hearing"). This Court has found that (i) this Court

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) venue is proper in

this district pursuant to 28 U.S.C. §§ 1408 and 1409, (iii) this is a core proceeding pursuant to

28 U.S.C. § 157(b) and (iv) notice of the Motion and the Hearing was sufficient under the

circumstances. After due deliberation, this Court has determined that (i) the relief requested in

the Motion is in the best interests of the Debtors, their estates and their creditors; (ii) the Debtors

have exercised reasonable business judgment in determining that the Assumed Contracts should

be assumed pursuant to sections 105 and 365 of the Bankruptcy Code; (iii) the Debtors have

satisfied the requirement under sections 365(b) of the Bankruptcy Code that the assignee provide


          1
                  The Debtors are the following nine entities (the last four digits of their respective taxpayer
identification numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236),
M & G Polymers USA, LLC (7593), M & G Finance Corporation (4230), M&G Waters USA, LLC (2195),
M & G USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo
American Investments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road,
Suite 240, Houston, Texas 77067.
          2
                   Capitalized terms not otherwise defined herein shall have the meanings given to them in the
Motion.


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adequate assurance of future performance to each applicable Counterparty; and (iv) good and

sufficient cause having been shown;

ACCORDINGLY, IT IS HEREBY ORDERED THAT:

        1.         The Motion is GRANTED as set forth herein.

        2.         Pursuant to section 365(a) of the Bankruptcy Code and Bankruptcy Rule 6006,

effective as of the closing of the sale of the Corpus Christi Assets to CCP, the Debtors are

authorized to assume and assign the Assumed Contracts identified on Exhibit 1 attached hereto

to CCP. In the event that the sale of the Corpus Christi Assets to CCP does not close, the

Assumed Contracts shall not be assumed.

        3.         Within two business days after entry of this Order, the Debtor shall serve this

Order on the Counterparties to the Assumed Contracts.

        4.         Notwithstanding the relief granted herein and any actions taken hereunder,

nothing in the Motion or this Order shall be deemed or construed to constitute an admission that

any Assumed Contract is an executory contract or unexpired lease.

        5.         For the avoidance of doubt, the inclusion of any contract or lease on Exhibit 1

hereto and/or entry of this Order shall be without prejudice to the rights of CCP, pursuant to the

terms of the CCP APA, to subsequently exclude any such contracts or leases from (or not include

any such contracts or leases on) the Purchased Contracts listed on Schedule 2.1(b)(vii) to the

CCP APA prior to the closing of the sale pursuant to the CCP APA, and any such contracts or

leases excluded from Schedule 2.1(b)(vii) to the CCP APA (as such schedule may be amended or

modified by CCP in accordance with the CCP APA) shall not be assumed and shall be deemed

rejected in the event that the sale of the Corpus Christi Assets to CCP closes.



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        6.         The assumption of the Assumed Contracts authorized by this Order complies with

the requirements of Bankruptcy Rules 6006(e) and (f).

        7.         Notwithstanding any provision in the Bankruptcy Rules to the contrary: (a) this

Order shall be effective immediately and enforceable upon its entry; (b) the Debtors are not

subject to any stay in the implementation, enforcement or realization of the relief granted in this

Order; and (c) the Debtors are authorized and empowered, and may in their discretion and

without further delay, take any action necessary or appropriate to implement this Order.

        8.         This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation and/or interpretation of this Order.




Dated: _________________________                       ______________________________________
       Wilmington, Delaware                            The Honorable Brendan L. Shannon
                                                       United States Bankruptcy Court Judge




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                      EXHIBIT 1

                   Assumed Contracts




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       DEBTOR                COUNTERPARTY NAME AND                      CONTRACT                 TOTAL CURE
                                    ADDRESS                            DESCRIPTION1               AMOUNT

 M & G Resins USA,          Abbott Informatics Corporation           Purchase Order for                $0
       LLC                   Attn: Magda Alexandrescu                 Starlims QA/QC
                               4000 Hollywood Blvd                         System
                                       Suite 333
                               Hollywood, FL 33021

 M & G Resins USA,           AEP Texas Central Company                  Contribution                   $0
       LLC                        P.O. Box 2121                     Agreement in aid of
                              Corpus Christi, TX 78403                 constriction of
                                                                    substation needed to
                                                                     power plant dated
                                                                      January 1, 2008

 M & G Resins USA,           AEP Texas Central Company                  Contribution                   $0
       LLC                        P.O. Box 2121                     Agreement in aid of
                              Corpus Christi, TX 78403                 constriction of
                                                                    substation needed to
                                                                     power plant dated
                                                                        April 9, 2014

 M & G Resins USA,           AEP Texas Central Company              Letter Agreement for               $0
       LLC                        P.O. Box 2121                     AEP to begin process
                              Corpus Christi, TX 78403            of constructing facilities
                                                                   to supply electricity to
                                                                    Corpus Christi Plant

 M & G Resins USA,       AmGUARD Insurance Co. – A Stock              Commercial Auto                  $0
       LLC                          Company                            Insurance Policy
                                 P.O. Box A-H                       effective June 6, 2018
                                16 S. River Street
                             Wilkes-Barre, PA 18703

 M & G Resins USA,           Berkley Assurance Company              Commercial General                 $0
       LLC                     7233 E. Butherus Drive                Liability Insurance
                                 Scottsdale, AZ 8526                Policy covering 410
                                                                   acres of vacant land at
                                                                    7001 Joe Fulton Intl.
                                                                   Trade Corridor, Corpus
                                                                     Christi, TX 78409




         1
                   The inclusion of any contract and/or lease on this list shall not be construed as an admission that
any such contract and/or lease is an executory contract. The Debtors reserve the right to raise any defense to, or
otherwise dispute, the Cure Amounts listed herein or asserted by the Counterparties. Unless otherwise noted, all
Assumed Contracts listed on this Exhibit 1 include any and all amendments, modifications, addendums, schedules,
riders or other ancillary documents with respect thereto.


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       DEBTOR           COUNTERPARTY NAME AND                     CONTRACT              TOTAL CURE
                               ADDRESS                           DESCRIPTION1            AMOUNT

 M & G Resins USA,          City of Corpus Christi              Industrial District         $0
       LLC                c/o City Attorney's Office         Affidavit describing the
                                PO Box 9277                     water meters and
                          Corpus Christi, TX 78469            backflow prevention
                                                              devices at 7001 Joe
                               With a copy to:                  Fulton Intl. Trade
                           City of Corpus Christi                   Corridor
                         c/o City Attorney's Office
                            1201 Leopard Street
                         Corpus Christi, TX 78401
 M & G Resins USA,     Coastal Bend Bays & Estuaries         Option and Wetlands            $0
       LLC                        Program                    Mitigation Agreement
                     1305 N. Shoreline Blvd., Suite 2015
                         Corpus Christi, TX 78401            First Amendment to
                                                             Option and Wetlands
                                                             Mitigation Agreement

 M & G Resins USA,     Coastal Bend Bays & Estuaries           Letter of Intent for         $0
       LLC                     Program, Inc.                 Proposed Mitigation at
                         1305 Shoreline, Suite 205            the CBBEP Nueces
                         Corpus Christi, TX 78401                Delta Preserve



 M & G Resins USA,    David and Barbara Quackenbush            1202 Ripple Creek            $0
       LLC                  1537 Nevada Street                  Drive Lease and
                            Houston, TX 77006                     Assumption




 M & G Resins USA,   Environmental Justice Housing Fund          Declaration of             $0
       LLC                c/o Environmental Clinic           Restrictions prohibiting
                             727 E. Dean Keeton               residential use of the
                              Austin, TX 78705                  property at 1118
                                                               Vernon Dr., Corpus
                                                               Christi, TX 78407

 M & G Resins USA,   Environmental Justice Housing Fund          Declaration of             $0
       LLC                c/o Environmental Clinic           Restrictions prohibiting
                             727 E. Dean Keeton               residential use of the
                              Austin, TX 78705                  property at 1214
                                                               Vernon Dr., Corpus
                                                               Christi, TX 78407

 M & G Resins USA,   Environmental Justice Housing Fund           Declaration of            $0
       LLC                c/o Environmental Clinic           Restrictions prohibiting
                             727 E. Dean Keeton               residential use of the
                              Austin, TX 78705               property at 1226 Dona
                                                             Dr., Corpus Christi, TX
                                                                      78407


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       DEBTOR           COUNTERPARTY NAME AND                  CONTRACT              TOTAL CURE
                               ADDRESS                        DESCRIPTION1            AMOUNT

 M & G Resins USA,   Environmental Justice Housing Fund        Declaration of            $0
       LLC                c/o Environmental Clinic        Restrictions prohibiting
                             727 E. Dean Keeton            residential use of the
                              Austin, TX 78705            property at 1106 Dona
                                                          Dr., Corpus Christi, TX
                                                                   78407

 M & G Resins USA,   Environmental Justice Housing Fund       Declaration of             $0
       LLC                c/o Environmental Clinic        Restrictions prohibiting
                             727 E. Dean Keeton            residential use of the
                              Austin, TX 78705               property at 1134
                                                             Manchester Ave,
                                                            Corpus Christi, TX
                                                                   78407

 M & G Resins USA,   Environmental Justice Housing Fund        Declaration of            $0
       LLC                c/o Environmental Clinic        Restrictions prohibiting
                             727 E. Dean Keeton            residential use of the
                              Austin, TX 78705            property at 1101 Golla
                                                          Dr., Corpus Christi, TX
                                                                   78407

 M & G Resins USA,   Environmental Justice Housing Fund        Declaration of            $0
       LLC                c/o Environmental Clinic        Restrictions prohibiting
                             727 E. Dean Keeton            residential use of the
                              Austin, TX 78705            property at 1109 Golla
                                                          Dr., Corpus Christi, TX
                                                                   78407

 M & G Resins USA,   Environmental Justice Housing Fund     Escrow Agreement             $0
       LLC                c/o Environmental Clinic        effective November 19,
                             727 E. Dean Keeton                     2014
                              Austin, TX 78705



 M & G Resins USA,      Hudson Insurance Company            Fiduciary Liability          $0
       LLC                   100 William St.                 Insurance Policy
                          New York, NY 10038              effective November 8,
                                                                   2018




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       DEBTOR               COUNTERPARTY NAME AND                   CONTRACT                TOTAL CURE
                                   ADDRESS                         DESCRIPTION1              AMOUNT

      Chemtex             Johnson Controls Fire Protection      Construction Contract            $02
  International Inc.         f/k/a Simplex Grinnell LP           for a fire protection
                            1125 East Collins Boulevard,        system, public address
                               Richardson, TX 75080               system and access
                                                                 control system with
                                                                   fence and CCTV

 M & G Resins USA,                OSIsoft LLC                     Corporate Family               $0
       LLC                 Creekside Plaza Building A           Software License and
                         1100 San Leandro Blvd, 2nd Floor        Services Agreement
                                    Suite 200                  dated October 12, 2015
                             San Leandro, CA 94577

 M & G Resins USA,        Port Of Corpus Christi Authority      Stormwater Discharge             $0
       LLC                        222 Power Street               License Agreement
                             Corpus Christi, TX 78401            dated December 13,
                                                                        2016



 M & G Resins USA,       Refinery Terminal Fire Company                Letter                    $0
       LLC                        PO Box 4162                  Acknowledgement of
                            Corpus Christi, TX 78469              Acceptance of
                                                               Application to Become
                                                                  an Emergency
                                                               Response Participating
                                                                     Member

 M & G Resins USA,               Satellite Shelters                Rental Order                  $0
       LLC                       1903 FM 1516 N                Agreement for lease of
                                Converse, TX 78109                a mobile office




 M & G Resins USA,                  Spectrum                   Customer Service Order            $0
       LLC                       6021 Katella Ave               for internet service at
                                Cypress, CA 90630              121 44th St., Suite 137,
                                                                 Corpus Christi, TX
                                                                        78405




        2
                  Assumption of contract and cure amount may be resolved in connection with resolution of
mechanics' lien claim asserted by Tyco Simplex Grinnell LP.
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       DEBTOR               COUNTERPARTY NAME AND                   CONTRACT                TOTAL CURE
                                   ADDRESS                         DESCRIPTION1              AMOUNT

      Chemtex              ThyssenKrupp Elevator Corp.         Elevator Installation for         $03
  International Inc.       2801 Network Blvd., Suite 700            PET building
                                 Frisco, TX 75034




 M & G Resins USA,      Time Warner Cable Enterprises LLC      Customer Service Order            $0
       LLC                     60 Columbus Circle               for internet service at
                              New York, NY 10023                 Corpus Christi Plant




 M & G Resins USA,               U.S. Risk, LLC                Environmental Liability           $0
       LLC                     Attn: Nick Langham                 Insurance Policy
                          8401 North Central Expressway
                                    Suite 1000
                                Dallas, TX 75225

                                 With a copy to:
                            Wortham Insurance & Risk
                                   Management
                             Attn: John L. Robertson
                              2727 Allen Parkway
                              Houston, TX 77019
      Chemtex                  Wholesale Electric                  Purchase Order                $04
  International Inc.           4040 Gulf Freeway               No. CT0034.0191 dated
                              Houston, TX 77004                as of June 10, 2016, as
                                                                       revised
                                 With a copy to:
                                  Carl Dore, Jr.                Purchase Order No.
                              Dore Law Group, P.C.             CT0034.0198 issued as
                            17171 Park Row, Suite 160           of June 29, 2016, as
                               Houston, TX 77084                      revised




        3
                  Assumption of contract and cure amount may be resolved in connection with resolution of
mechanics' lien claim asserted by ThyssenKrupp Elevator Corporation.
        4
                  Assumption of contract and cure amount may be resolved in connection with resolution of
mechanics' lien claim asserted by Wholesale Electric.
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